Case 3:19-bk-32052       Doc 18   Filed 07/24/19 Entered 07/24/19 15:23:00           Desc Main
                                  Document     Page 1 of 3


                   IN THE UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF OHIO
                          WESTERN DIVISION – DAYTON

 IN RE:                                        :     Case No. 19-32052
                                               :
 BRUCE W. HARNISH                              :     Chapter 7
                                               :
               Debtor.                         :     Judge Guy R. Humphrey
                                               :

______________________________________________________________________________

    DEBTOR’S RESPONSE IN OPPOSITION TO THE HUNTINGTON NATIONAL
                    BANK’S MOTION FOR RELIEF [Doc. 12]
______________________________________________________________________________

       Based on the arguments set forth herein, as well as any argument and/or evidence

presented at any hearing on the Motion, the Motion for Relief [Doc. 12] filed by Movant The

Huntington National Bank (“Movant”) should be denied. While Debtor does not deny that

Movant is owed its claimed sum and that no payments have been made thereon, Debtor

contends that those facts, standing alone, are insufficient for this Court to grant the Motion.

       In support of his response, Debtor states as follows:

                                          Argument

     1.          Section 362(d) of the Bankruptcy Code permits relief from the automatic

stay (1) for cause, including lack of adequate protection, or (2) with respect to an action

against property if the debtor does not have equity in the property. 11 U.S.C. § 362(d)(l),(2).

Movant cannot establish cause as required by Section 362(d)(l). Moreover, Movant cannot

establish a lack of equity, as required by Section 362(d)(2). Accordingly, Movant is not

entitled to relief from the automatic stay and its Motion must be denied.

     a. Movant Fails to Establish Cause for Relief from Stay Pursuant to Section
        362(d)(l)
Case 3:19-bk-32052        Doc 18        Filed 07/24/19 Entered 07/24/19 15:23:00       Desc Main
                                        Document     Page 2 of 3



      2.          In its Motion, Movant argues that there is cause to lift the stay because it is

without adequate protection. Movant, however, has adequate protection, since there is an

equity cushion in the Property.

      3.          Under Section 362(d)(l), the Court may grant relief from stay "for cause,

including the lack of adequate protection of an interest in property " 11 U.S.C. § 362(d)(l).

Adequate protection may be provided in various forms, including cash payments, a

replacement lien, or an equity cushion. An equity cushion may adequately protect a secured

lender's interest in collateral if there is a sufficient cushion above the amount owed to the

secured creditor "that will shield that interest from loss due to any decrease in the value of

the property during the time the automatic stay remains in effect."       In re Schuessler, 386

B.R. 458, 480 (Bankr. S.D.N.Y.2008) (internal citations omitted); In re American Sunlake

Ltd. P'shp., 109 B.R. 727, 733 (Bankr. W.D. Mich. 1989).

      4.          The value of the real property will not be determined through its forced,

liquidation sale. The value of the real property can best be determined through a consensual

sale of the property through a professional real estate broker.

      5.          Movant’s assertion of value is based on the Auditor’s valuation. Debtor has

scheduled the property with a value of $342,500.00.

      6.         Accordingly, since Movant has adequate protection, it cannot demonstrate

that there is cause to lift the stay.

           b. Movant Fails to Establish that the Debtor Does Not Have Equity in
              the Property, Or that the Property is Unnecessary to Effective
              Reorganization, Pursuant to Section 362(d)(2)

      7.          Movant states that it is entitled to relief from the automatic stay pursuant to



                                                   2
Case 3:19-bk-32052      Doc 18     Filed 07/24/19 Entered 07/24/19 15:23:00           Desc Main
                                   Document     Page 3 of 3


Section 362(d)(1). (Motion at ¶ 7.) However, in order to gain relief from stay under Section

362(d)(1), Movant must establish that (1) the debtor does not have equity in such property,

and (2) such property is not necessary to the effective reorganization. 11 U.S.C. § 362(d)(2).

Section 362(d)(2) is written in the conjunctive; therefore, both elements must be met in order

to obtain relief. Movant will be unable to satisfy both elements and, therefore, the Motion

should be denied.

         WHEREFORE, the Debtor requests that this Court enter an Order, after a hearing

 and based on the evidence and argument presented at the hearing on the Motion, (i) denying

 the Motion of Movant for entry of an order terminating the automatic stay; (ii) sustaining

 the Objection of the Debtor to the Motion; and (iii) for such other and further relief as is

 just and equitable.

                                                    Respectfully submitted,

                                                    /s/ William B. Fecher
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                                CERTIFICATE OF SERVICE

        I hereby certify that on July 24, 2019, a true and accurate copy of the foregoing Response
was served on the all registered ECF participants, electronically through the Court’s ECF System
at the email address registered with the Court.
                                                       /s/ William B. Fecher
                                                       William B. Fecher (0039240)




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